                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 1 of 70 Page ID #:710



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                                  WM. WRIGLEY JR. COMPANY
                           10     and MARS, INCORPORATED
                           11
                                                           UNITED STATES DISTRICT COURT
                           12
                                                          CENTRAL DISTRICT OF CALIFORNIA
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                                  WM. WRIGLEY JR. COMPANY, a              Case No.: 5:21-cv-00777 JWH
                           15     Delaware corporation; and MARS,         (SHKx)
                                  INCORPORATED, a Delaware
                           16     corporation,                            Assigned to Hon. John W. Holcomb
                           17                    Plaintiffs,
                                                                          FIRST AMENDED COMPLAINT
                           18              v.                             FOR:
                           19     ROBERTO CONDE d/b/a                     (1) FEDERAL
                                  2020EDIBLEZ, an individual; JOEL        COUNTERFEITING;
                           20     LEDESMA d/b/a INLAND EMPIRE
                                  420 SUPPLY, an individual; JESSICA      (2) FEDERAL TRADEMARK
                           21     MOHR, an individual; STEPHEN            INFRINGEMENT;
                                  MATA d/b/a OC 420 COLLECTION,
                           22     an individual; YAUHENIYA LIS d/b/a      (3) FEDERAL TRADEMARK
                                  GASBUDS, an individual; EDWARD          DILUTION;
                           23     AWAD d/b/a CANNABIS 420
                                  SUPPLY, an individual; GREEN RUSH       (4) FEDERAL UNFAIR
                           24     EXTRACTS LLC, a California limited      COMPETITION;
                                  liability company; MARCO BURGOS
                           25     d/b/a 2020EDIBLEZ, an individual; and   (5) UNFAIR COMPETITION IN
                                  DOES 4 through 10,                      VIOLATION OF CAL. BUS. &
                           26                                             PROF. CODE § 17200, ET SEQ.;
                                                 Defendants.
                           27                                             (6) DILUTION IN VIOLATION
                                                                          OF CAL. BUS. & PROF.
                           28                                             CODE § 14247; AND

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A Limited Liability Partnership
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 2 of 70 Page ID #:711



                              1
                                                                    (7) COMMON LAW UNFAIR
                              2                                     COMPETITION
                              3                                     DEMAND FOR JURY TRIAL
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                                  21079879.12                   2               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 3 of 70 Page ID #:712



                              1                               FIRST AMENDED COMPLAINT
                              2            Plaintiffs Wm. Wrigley Jr. Company (“Wrigley”) and Mars, Incorporated
                              3   (“Mars” and, together with Wrigley, “Plaintiffs”), by and through their attorneys,
                              4   Loeb & Loeb LLP, for their complaint against1:
                              5                   Marco Burgos d/b/a 2020ediblez (“2020ediblez”);
                              6                   Joel Ledesma d/b/a Inland Empire 420 Supply (“IE420”) and Jessica
                              7                    Mohr (“Mohr”) (collectively, the “IE420 Defendants”)2;
                              8                   Stephen Mata d/b/a OC 420 Collection (“OC420”)3;
                              9                   Yauheniya Lis d/b/a GasBuds (“GasBuds”);
                           10                     Edward Awad d/b/a Cannabis 420 Supply (“Cannabis 420”);
                           11                     Green Rush Extracts, LLC (“Green Rush”); and
                           12                     DOES 4-10
                           13     (2020ediblez, the IE420 Defendants, OC420, GasBuds, Cannabis 420, Green Rush,
                           14     and DOES 4-10 are collectively referred to herein as “Defendants”) hereby allege as
                           15     follows:
                           16                                   JURISDICTION AND VENUE
                           17              1.      This Court has jurisdiction over Plaintiffs’ claims pursuant to
                           18     15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338, and 1367. Plaintiffs’ claims arise
                           19     under the Lanham Act, 15 U.S.C. §§ 1051 et seq. Plaintiffs’ state law claims arise
                           20     from the same operative facts or are otherwise so related to its Lanham Act claims
                           21     that they form part of the same case or controversy under Article III of the United
                           22     States Constitution.
                           23
                           24
                           25              1
                                           On March 23, 2022, Wrigley filed a notice of dismissal dismissing Roberto
                                  Conde from this action. [Dkt. 65.]
                           26            2
                                           On March 23, 2022, Wrigley filed a stipulation to dismiss Joel Ledesma and
                           27     Jessica Mohr from this action. [Dkt. 64.]
                                         3
                                           On March 15, 2022, Wrigley filed a request to approve a consent judgment
                           28     against Stephen Mata. [Dkt. 63.]

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                                  21079879.12                                   3                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 4 of 70 Page ID #:713



                              1            2.    This Court has personal jurisdiction over the named individual
                              2   defendants because they each are domiciled in the State of California and within this
                              3   District. Moreover, each of the Defendants have had continuous, systematic, and
                              4   substantial contacts with the State of California, including transacting business in
                              5   California and within this District.
                              6            3.    Venue is proper in this District pursuant to 28 U.S.C. § 1391.
                              7                                NATURE OF THE ACTION
                              8            4.    This is a civil action seeking damages and injunctive relief for willful
                              9   trademark counterfeiting, trademark infringement, dilution, and unfair competition
                           10     under the laws of the United States, 15 U.S.C. §§ 1051, et seq. (the “Lanham Act”),
                           11     unfair competition under California state law, Cal. Bus. & Prof. Code § 17200, et
                           12     seq., dilution in violation of Cal. Bus. & Prof. Code § 14247, and common law
                           13     unfair competition.
                           14              5.    Wrigley was founded in 1891 in Chicago, Illinois and has become a
                           15     leading manufacturer of candy and owns many iconic brands, including
                           16     SKITTLES®, STARBURST®, and LIFE SAVERS®. For decades, Wrigley has
                           17     sold SKITTLES®, STARBURST®, and LIFE SAVERS® candies to customers
                           18     throughout the United States.
                           19              6.    Mars was founded in 1911 as Mars Candy Factory Inc. and was
                           20     incorporated in the State of Delaware in 1952. Mars has become a leading
                           21     manufacturer of chocolate and candy and owns many iconic brands, including
                           22     SNICKERS®, 3 MUSKETEERS®, MILKY WAY®, M&M’S®, DOVE®, and
                           23     TWIX®. For decades, Mars has sold SNICKERS®, 3 MUSKETEERS®, MILKY
                           24     WAY®, M&M’S®, DOVE®, and TWIX® products, and other brands of candy, to
                           25     customers throughout the United States.
                           26              7.    Plaintiffs bring this action to stop a serious and potentially dangerous
                           27     violation of their famous SKITTLES®, STARBURST®, LIFE SAVERS®,
                           28     SNICKERS®, 3 MUSKETEERS®, and MILKY WAY® trademarks.

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                                  21079879.12                                  4                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 5 of 70 Page ID #:714



                              1            8.    Defendants are misappropriating Plaintiffs’ famous and federally-
                              2   registered trademarks for use on edible cannabis candy products. These products,
                              3   which often contain genuine SKITTLES®, STARBURST®, LIFE SAVERS®,
                              4   SNICKERS®, 3 MUSKETEERS®, and MILKY WAY® candies and/or chocolate
                              5   infused with or otherwise containing tetrahydrocannabinol (“THC”), the main
                              6   psychoactive component of cannabis, are marketed and sold to consumers—all
                              7   without Plaintiffs’ authorization.
                              8            9.    Defendants’ unauthorized and infringing use of Plaintiffs’ famous
                              9   trademarks endangers the public and is likely to cause confusion and damage
                           10     Plaintiffs’ valuable rights. Defendants’ unlawful actions are a danger to children
                           11     and adults who may mistakenly ingest the edible cannabis products thinking them to
                           12     be Plaintiffs’ genuine SKITTLES®, STARBURST®, LIFE SAVERS®,
                           13     SNICKERS®, 3 MUSKETEERS®, or MILKY WAY® products, when they are
                           14     not, and unknowingly and unwillingly subjecting themselves to doses of THC,
                           15     sometimes in very large and unsafe quantities. Tragically, news reports validate
                           16     these concerns, indicating an increasing number of incidents where children have
                           17     mistaken cannabis edibles for candy, sometimes requiring hospitalization.
                           18              10.   Plaintiffs bring this action to stop Defendants’ conduct that causes
                           19     irreparable injury to Plaintiffs, deceives the public as to the source and sponsorship
                           20     of Defendants’ products, and harms the public, including customers in California.
                           21                                          THE PARTIES
                           22              11.   Wrigley is a Delaware corporation with its principal place of business
                           23     in Chicago, Illinois.
                           24              12.   Mars is a Delaware corporation with its principal place of business in
                           25     McLean, Virginia.
                           26              13.   Upon information and belief, defendant Marco Burgos d/b/a
                           27     2020ediblez is an individual residing in Riverside County, California. Plaintiffs are
                           28     informed and believe that Marco Burgos owns a business known as 2020ediblez,

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A Limited Liability Partnership
                                  21079879.12                                 5                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 6 of 70 Page ID #:715



                              1   which conducts and/or conducted its operations through the website located at
                              2   https://www.2020ediblez.com/, and that he has at all times directed and controlled
                              3   the complained of activities by 2020ediblez.
                              4            14.   Upon information and belief, defendant Joel Ledesma d/b/a Inland
                              5   Empire 420 Supply is an individual residing in Riverside County, California.
                              6   Plaintiffs are informed and believe that Joel Ledesma owns a business known as
                              7   Inland Empire 420 Supply, which conducts its operations through the website
                              8   located at https://www.ie420supply.com/, and that he has at all times directed and
                              9   controlled the complained of activities by IE420.
                           10              15.   Upon information and belief, defendant Jessica Mohr is an individual
                           11     residing in Riverside County, California. Plaintiffs are informed and believe that
                           12     Jessica Mohr has at all times directed and controlled the complained of activities by
                           13     IE420.
                           14              16.   Upon information and belief, defendant Stephen Mata d/b/a OC 420
                           15     Collection is an individual residing in Orange County, California. Plaintiffs are
                           16     informed and believe that Stephen Mata owns a business known as OC 420
                           17     Collection, which conducts its operations through the website located at
                           18     https://www.oc420collection.com/, and that he has at all times directed and
                           19     controlled the complained of activities by OC420.
                           20              17.   Upon information and belief, defendant Yauheniya Lis d/b/a GasBuds
                           21     is an individual residing in Los Angeles County, California. Plaintiffs are informed
                           22     and believe that Yauheniya Lis owns a business known as GasBuds, which conducts
                           23     its operations through the website located at https://www.gasbuds.com/, and that she
                           24     has at all times directed and controlled the complained of activities of GasBuds.
                           25              18.   Upon information and belief, defendant Edward Awad d/b/a Cannabis
                           26     420 Supply is an individual residing in San Bernardino County, California.
                           27     Plaintiffs are informed and believe that Edward Awad owns a business known as
                           28     Cannabis 420 Supply, which conducts and/or conducted its operations through the

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                                  21079879.12                                6                FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 7 of 70 Page ID #:716



                              1   website located at https://www.cannabis420supply.com/, and that he has at all times
                              2   directed and controlled the complained of activities of Cannabis 420. Plaintiffs are
                              3   also informed and believe that Edward Awad is the owner of defendant Green Rush
                              4   Extracts LLC and that he has at all times directed and controlled the complained of
                              5   activities of Green Rush.
                              6            19.   Upon information and belief, defendant Green Rush Extracts LLC, a
                              7   California limited liability company with its principal place of business in Redlands,
                              8   California, is a business conducting its operations through the website located at
                              9   https://greenrushextracts.org/. Plaintiffs are informed and believe that Green Rush
                           10     is owned, directed, and controlled by defendant Edward Awad.
                           11              20.   Upon information and belief, DOES 4-10 are individuals and/or
                           12     business entities who have participated or assisted in the conduct alleged herein or
                           13     are otherwise responsible therefor. The identities of DOES 4-10 are presently not
                           14     and cannot be known to Plaintiffs, but Plaintiffs will amend this complaint to show
                           15     the true names and capacities of DOES 4-10 once such information is ascertained.
                           16              21.   Upon information and belief, at all times mentioned herein, each of
                           17     DOES 4-10 was the agent, servant, subsidiary, partner, member, associate, co-
                           18     conspirator, representative, aider and abettor or employee of one or more of
                           19     Defendants, and in connection with the conduct alleged herein, was acting within
                           20     the course and scope of such relationship, and that each and every act, omission, and
                           21     thing done by each of DOES 4-10 was ratified by one or more of Defendants.
                           22                                 GENERAL ALLEGATIONS
                           23     I.       PLAINTIFFS’ FAMOUS TRADEMARKS
                           24              A.    Wrigley’s Trademarks
                           25              22.   Wrigley is a recognized global leader in confections and, together with
                           26     its affiliates, offers a wide range of product offerings including gum, mints, and
                           27     candies. Wrigley markets products under dozens of well-known, distinctive, and
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A Limited Liability Partnership
                                  21079879.12                                 7                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 8 of 70 Page ID #:717



                              1   famous brands, including SKITTLES®, STARBURST®, DOUBLEMINT®,
                              2   JUICY FRUIT®, and LIFE SAVERS®, to name a few.
                              3            23.   Wrigley and its predecessors have long marketed candy and related
                              4   products under the famous SKITTLES® mark and trade dress, which features,
                              5   among other things, the word mark SKITTLES® in white block lettering, distinctive
                              6   rainbow designs, distinctive candy-coated lentils with an “S” imprinted thereon, and
                              7   a cascade design of these candy lentils (hereinafter referred to as the “Skittles Trade
                              8   Dress”), examples of which are shown below:
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                                  21079879.12                                8                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                    Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 9 of 70 Page ID #:718



                              1            24.   For 50 years, Wrigley and its predecessors-in-interest have
                              2   continuously used the SKITTLES® mark to advertise, promote, and sell candy
                              3   throughout the United States.
                              4            25.   Wrigley has earned billions of dollars in revenues from the sale of
                              5   SKITTLES® candy in the United States. Many millions of people throughout the
                              6   country have purchased or consumed SKITTLES® candy. In fact, SKITTLES®
                              7   candy has been the best-selling non-chocolate candy in the United States for years.
                              8            26.   Wrigley has invested many millions of dollars to promote SKITTLES®
                              9   candy. Wrigley’s advertisements and commercials for SKITTLES® have been seen
                           10     by many millions of people nationwide. Wrigley advertises SKITTLES® candy
                           11     during the Super Bowl and other highly watched events.
                           12              27.   Based on the wide-spread and long-standing use and recognition of the
                           13     SKITTLES® brand, Wrigley enjoys extensive trademark rights in the SKITTLES®
                           14     mark and the Skittles Trade Dress.
                           15              28.   Wrigley owns numerous federal registrations for its SKITTLES® mark
                           16     and the Skittles Trade Dress, including, but not limited to, U.S. Reg. Nos.
                           17     1,221,105; 2,535,714; 4,377,303; and 4,983,664 (such federal registrations,
                           18     collectively with the common law trademark rights in the SKITTLES® mark and
                           19     Skittles Trade Dress, are hereinafter referred to as the “SKITTLES® Mark and
                           20     Trade Dress”).
                           21              29.   Similarly, Wrigley and its predecessors have long marketed candy and
                           22     related products under the famous STARBURST® mark and trade dress, which
                           23     features, among other things, the word mark STARBURST® in stylized lettering
                           24     and distinctive wrappers with an “S” imprinted thereon (hereinafter referred to as
                           25     the “Starburst Trade Dress”), examples of which are shown below:
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A Limited Liability Partnership
                                  21079879.12                                 9                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 10 of 70 Page ID #:719



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                                           30.   For 50 years, Wrigley and its predecessors-in-interest have
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                                  continuously used the STARBURST® mark to advertise, promote, and sell candy
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                                  throughout the United States.
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                                           31.   Wrigley has earned billions of dollars in revenue from the sale of
                           18
                                  STARBURST® candy in the United States. Many millions of people throughout
                           19
                                  the country have purchased or consumed STARBURST® candy.
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                                           32.   Wrigley has invested many millions of dollars to promote
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                                  STARBURST® candy. Wrigley’s advertisements and commercials for
                           22
                                  STARBURST® have been seen by many millions of people nationwide.
                           23
                                           33.   Based on the wide-spread and long-standing use and recognition of the
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                                  STARBURST® brand, Wrigley enjoys extensive trademark rights in the
                           25
                                  STARBURST® mark and the Starburst Trade Dress.
                           26
                                           34.   Wrigley owns numerous federal registrations for its STARBURST®
                           27
                                  mark and trade dress, including, but not limited to, U.S. Reg. Nos. 1,000,007;
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A Limited Liability Partnership
                                  21079879.12                                10                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 11 of 70 Page ID #:720



                              1   1,545,544; 4,179,436; 4,268,392; and 4,625,960 (such federal registrations,
                              2   collectively with the common law trademark rights in the STARBURST® mark and
                              3   Starburst Trade Dress, are hereinafter referred to as the “STARBURST® Mark and
                              4   Trade Dress”).
                              5            35.   Additionally, Wrigley and its predecessors have long marketed candy
                              6   and related products under the famous LIFE SAVERS® mark and trade dress,
                              7   which features, among other things, the word mark LIFE SAVERS® in stylized
                              8   lettering and distinctive circular candies with “LIFE SAVERS” imprinted thereon
                              9   (hereinafter referred to as the “Life Savers Trade Dress”). An example of LIFE
                           10     SAVERS® packaging is shown below:
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                           18              36.   For 50 years, Wrigley and its predecessors-in-interest have
                           19     continuously used the LIFE SAVERS® mark to advertise, promote, and sell candy
                           20     throughout the United States.
                           21              37.   Wrigley has earned billions of dollars in revenue from the sale of LIFE
                           22     SAVERS® candy in the United States. Many millions of people throughout the
                           23     country have purchased or consumed LIFE SAVERS® candy.
                           24              38.   Wrigley has invested many millions of dollars to promote LIFE
                           25     SAVERS® candy. Wrigley’s advertisements and commercials for LIFE SAVERS®
                           26     have been seen by many millions of people nationwide.
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A Limited Liability Partnership
                                  21079879.12                                11                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 12 of 70 Page ID #:721



                              1            39.   Based on the wide-spread and long-standing use and recognition of the
                              2   LIFE SAVERS® brand, Wrigley enjoys extensive trademark rights in the LIFE
                              3   SAVERS® mark and the Life Savers Trade Dress.
                              4            40.   Wrigley owns numerous federal registrations for its LIFE SAVERS®
                              5   mark and trade dress, including, but not limited to, U.S. Reg. Nos. 115,895;
                              6   236,694; 1,130,067; 2,358,709; 4,214,036; and 4,769,489 (such federal registrations,
                              7   collectively with the common law trademark rights in the LIFE SAVERS® mark
                              8   and Life Savers Trade Dress, are hereinafter referred to as the “LIFE SAVERS®
                              9   Mark and Trade Dress”).
                           10              B.    MARS’ TRADEMARKS
                           11              41.   Mars is a recognized global leader in chocolates, confections and other
                           12     food products. Mars offers a wide range of product offerings, including chocolate
                           13     bars, under dozens of well-known, distinctive, and famous brands, including
                           14     SNICKERS®, 3 MUSKETEERS®, MILKY WAY®, M&M’S®, and TWIX®, to
                           15     name a few.
                           16              42.   Mars has long marketed candy and related products under the famous
                           17     SNICKERS® mark and trade dress, which features, among other things, the word
                           18     mark SNICKERS® in blue block lettering in a parallelogram outlined in red
                           19     (hereinafter referred to as the “Snickers Trade Dress”), examples of which are
                           20     shown below:
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A Limited Liability Partnership
                                  21079879.12                                12                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 13 of 70 Page ID #:722



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                                           43.   For almost 100 years, Mars has continuously used the SNICKERS®
                           15
                                  mark to advertise, promote, and sell chocolate bars throughout the United States.
                           16
                                           44.   Mars has earned billions of dollars in revenues from the sale of
                           17
                                  SNICKERS® candy and other SNICKERS® branded products in the United States.
                           18
                                  Many millions of people throughout the country have purchased or consumed
                           19
                                  SNICKERS® candy and other SNICKERS® branded products. In fact, the
                           20
                                  SNICKERS® chocolate bar has been one of the best-selling chocolate bars in the
                           21
                                  United States for years.
                           22
                                           45.   Mars has invested many millions of dollars to promote SNICKERS®
                           23
                                  candy. Mars’ advertisements and commercials for SNICKERS® have been seen by
                           24
                                  many millions of people nationwide. Mars has advertised SNICKERS® candy
                           25
                                  during the Super Bowl and other highly watched events.
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A Limited Liability Partnership
                                  21079879.12                                13                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 14 of 70 Page ID #:723



                              1            46.   Based on the wide-spread and long-standing use and recognition of the
                              2   SNICKERS® brand, Mars enjoys extensive trademark rights in the SNICKERS®
                              3   mark and the Snickers Trade Dress.
                              4            47.   Mars owns numerous federal registrations for its SNICKERS® mark,
                              5   parallelogram design, and chocolate bar design, including, but not limited to, U.S.
                              6   Reg. Nos. 239,311; 1,270,149; 1,563,583; 1,593,286; 2,061,849; 2,082,946;
                              7   2,104,555; 2,911,432; 3,063,755; 3,120,788; 5,047,574; 6,465,002; and 6,480,397
                              8   (such federal registrations, collectively with the common law trademark rights in the
                              9   SNICKERS® mark and Snickers Trade Dress, are hereinafter referred to as the
                           10     “SNICKERS® Mark and Trade Dress”).
                           11              48.   Similarly, Mars has long marketed candy and related products under
                           12     the famous 3 MUSKETEERS® mark and trade dress, which features, among other
                           13     things, the word mark 3 MUSKETEERS® in stylized red lettering outlined in blue
                           14     and the number 3 inside a blue shield design (hereinafter referred to as the “3
                           15     Musketeers Trade Dress”), an example of which is shown below:
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                                           49.   For 90 years, Mars has continuously used the 3 MUSKETEERS® mark
                           23
                                  to advertise, promote, and sell chocolate bars throughout the United States.
                           24
                                           50.   Mars has earned millions of dollars in revenues from the sale of 3
                           25
                                  MUSKETEERS® candy in the United States. Many millions of people throughout
                           26
                                  the country have purchased or consumed 3 MUSKETEERS® chocolate products.
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         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 15 of 70 Page ID #:724



                              1   In fact, the 3 MUSKETEERS® chocolate bar has been a popular chocolate bar in
                              2   the United States for years.
                              3            51.   Mars has invested many millions of dollars to promote 3
                              4   MUSKETEERS® candy. Mars’ advertisements and commercials for 3
                              5   MUSKETEERS® have been seen by many millions of people nationwide.
                              6            52.   Based on the wide-spread and long-standing use and recognition of the
                              7   3 MUSKETEERS® brand, Mars enjoys extensive trademark rights in the 3
                              8   MUSKETEERS® mark and the 3 Musketeers Trade Dress.
                              9            53.   Mars owns federal registrations for its 3 MUSKETEERS® mark and
                           10     the 3 shield design, including, but not limited to, U.S. Reg. Nos. 1,272,036;
                           11     1,683,918; 2,675,569; 3,338,622; and 5,596,164 (such federal registrations,
                           12     collectively with the common law trademark rights in the 3 MUSKETEERS® mark
                           13     and 3 Musketeers Trade Dress, are hereinafter referred to as the “3
                           14     MUSKETEERS® Mark and Trade Dress”).
                           15              54.   Additionally, Mars has long marketed candy and related products under
                           16     the famous MILKY WAY® mark and trade dress, which features, among other
                           17     things, the word mark MILKY WAY® in stylized lettering on a swirled ellipse
                           18     design (hereinafter referred to as the “Milky Way Trade Dress”), examples of which
                           19     are shown below:
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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 16 of 70 Page ID #:725



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                              8            55.   For 100 years, Mars has continuously used the MILKY WAY® mark

                              9   to advertise, promote, and sell chocolate bars throughout the United States.

                           10              56.   Mars has earned millions of dollars in revenues from the sale of

                           11     MILKY WAY® candy and other MILKY WAY® branded products in the United

                           12     States. Many millions of people throughout the country have purchased or

                           13     consumed MILKY WAY® candy. In fact, the MILKY WAY® chocolate bar has

                           14     been a popular chocolate bar in the United States for years.

                           15              57.   Mars has invested many millions of dollars to promote MILKY

                           16     WAY® candy. Mars’ advertisements and commercials for MILKY WAY® have

                           17     been seen by many millions of people nationwide.

                           18              58.   Based on the wide-spread and long-standing use and recognition of the

                           19     MILKY WAY® brand, Mars enjoys extensive trademark rights in the MILKY

                           20     WAY® mark and the Milky Way Trade Dress.

                           21              59.   Mars owns numerous federal registrations for its MILKY WAY®

                           22     mark, including, but not limited to, U.S. Reg. Nos. 1,161,203; 1,272,034; 1,508,474;

                           23     1,533,492; 2,316,816; 2,335,708; 2,430,868; 2,498,018; 2,514,593; and 4,535,789

                           24     (such federal registrations, collectively with the common law trademark rights in the

                           25     MILKY WAY® mark and Milky Way Trade Dress, are hereinafter referred to as the

                           26     “MILKY WAY® Mark and Trade Dress”).

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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 17 of 70 Page ID #:726



                              1            C.    STRENGTH OF PLAINTIFFS’ TRADEMARKS
                              2            60.   Each of the above-referenced trademark registrations are valid,
                              3   subsisting, and in full force under 15 U.S.C. § 1065, and, together with Plaintiffs’
                              4   extensive common law rights, make the SKITTLES® Mark and Trade Dress,
                              5   STARBURST® Mark and Trade Dress, and LIFE SAVERS® Mark and Trade
                              6   Dress (collectively, the “Wrigley Trademarks”), and the SNICKERS® Mark and
                              7   Trade Dress, 3 MUSKETEERS® Mark and Trade Dress, and MILKY WAY® Mark
                              8   and Trade Dress (collectively, the “Mars Trademarks” and, together with the
                              9   Wrigley Trademarks, the “Subject Trademarks”) valuable assets owned by
                           10     Plaintiffs.
                           11              61.   The Subject Trademarks with Registration Nos. 1,221,105; 2,535,714;
                           12     4,377,303; 1,000,007; 1,545,544; 4,179,436; 4,268,392; 4,625,960; 115,895;
                           13     236,694; 1,130,067; 2,358,709; 4,214,036; 1,270,149; 1,563,583; 1,593,286;
                           14     2,082,946; 2,104,555; 2,911,432; 3,063,755; 3,120,788; 1,161,203; 1,272,034;
                           15     1,508,474; 1,533,492; 2,316,816; 2,335,708; 2,430,868; 2,498,018; 2,514,593;
                           16     4,535,789; 1,272,036; 1,683,918; 2,675,569; and 3,338,622 are incontestable
                           17     pursuant to 15 U.S.C. §§ 1065 and 1115(b).
                           18              62.   Pursuant to 15 U.S.C. § 1115(b), Plaintiffs’ incontestable registrations
                           19     are conclusive evidence of the validity of the marks listed in the registrations,
                           20     Plaintiffs’ ownership of the marks, and Plaintiffs’ exclusive rights to use the marks
                           21     in commerce in connection with the identified goods.
                           22              63.   Plaintiffs are the exclusive owners of the Subject Trademarks and all of
                           23     the related business and goodwill throughout the United States. Attached hereto as
                           24     Exhibit A are true and correct copies of the trademark registration certificates for
                           25     the Subject Trademarks as issued by the United States Patent and Trademark Office.
                           26              64.   As a result of the efforts described herein, each of the Subject
                           27     Trademarks has acquired strong secondary meaning signifying Wrigley or Mars.
                           28

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                                  21079879.12                                 17                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 18 of 70 Page ID #:727



                              1            65.   Due to Plaintiffs’ extensive marketing efforts and sales success, the
                              2   Subject Trademarks have each become extremely valuable corporate assets.
                              3   Plaintiffs have successfully licensed their trademarks to third parties who agree to
                              4   abide by Plaintiffs’ guidelines for use of the trademark(s).
                              5            66.   The Subject Trademarks are strong and distinctive marks, which are
                              6   immediately recognized by the public as brand indicators of, and indelibly
                              7   associated with, Wrigley’s and Mars’ products. The Subject Trademarks identify
                              8   authorized products that emanate from, or are licensed or sponsored by Wrigley or
                              9   Mars.
                           10     II.      THE EMERGENCE OF INFRINGING CANNABIS PRODUCTS
                           11              67.   As the market for cannabis products and, in particular, edible cannabis
                           12     products has grown, certain unscrupulous businesses have manufactured, packaged,
                           13     and/or sold unauthorized and counterfeit edible cannabis products that nearly-
                           14     identically resemble famous candy brands, including Wrigley’s SKITTLES®,
                           15     STARBURST®, and LIFE SAVERS® candies and Mars’ SNICKERS®, 3
                           16     MUSKETEERS®, and MILKY WAY® confections, in order to benefit from the
                           17     established goodwill of those brands.
                           18              68.   One such unauthorized product, often marketed under the name
                           19     “Medicated Skittles,” is sold in packaging illegally using the SKITTLES® Mark
                           20     and Trade Dress, designed to imitate and counterfeit Wrigley’s famous
                           21     SKITTLES® candy and causing confusion amongst consumers and others as to the
                           22     source of the product and/or whether Wrigley has authorized, endorsed, or is
                           23     affiliated with the “Medicated Skittles” product—which it has not and is not.
                           24              69.   Below is a comparison of Wrigley’s SKITTLES® product to the
                           25     nearly-identically packaged counterfeit “Medicated Skittles” product:
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                                  21079879.12                                 18                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 19 of 70 Page ID #:728



                              1                  Wrigley’s SKITTLES®                  Infringing “Medicated Skittles”
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                           20              70.     Additionally, these unscrupulous businesses have similarly begun
                           21     manufacturing, marketing, and/or distributing unauthorized and counterfeit edible
                           22     cannabis products and packaging which infringes on Wrigley’s STARBURST®
                           23     Mark and Trade Dress, again attempting to usurp the goodwill Wrigley has created
                           24     in its STARBURST® mark without regard for Wrigley’s intellectual property rights
                           25     nor the great harm being caused to the public. Similarly, Wrigley has not sponsored
                           26     or endorsed, and is not affiliated with, any of the products discussed herein which
                           27     infringe on Wrigley’s STARBURST® Mark and Trade Dress.
                           28

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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 20 of 70 Page ID #:729



                              1            71.     A comparison between examples of Wrigley’s STARBURST® candy
                              2   product and the infringing counterfeit products—often sold as “Starburst Gummies”
                              3   or “Cannaburst Gummies” (hereinafter referred to as “Starburst Gummies”)—is
                              4   shown below:
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                                                 Wrigley’s STARBURST®                Infringing “Starburst Gummies”
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                           25              72.     Similarly, unscrupulous businesses have also begun manufacturing,
                           26     marketing, and/or distributing unauthorized and counterfeit edible cannabis products
                           27     and packaging which infringe on Wrigley’s LIFE SAVERS® Mark and Trade Dress
                           28     in an attempt to profit off of the goodwill Wrigley has created in those marks. Like

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                                  21079879.12                                 20                FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 21 of 70 Page ID #:730



                              1   with the infringing and counterfeit “Medicated Skittles” and “Starburst Gummies”
                              2   products, Wrigley has not sponsored or endorsed, and is not affiliated with, any of
                              3   the products complained of here that infringe on and/or counterfeit Wrigley’s LIFE
                              4   SAVERS® Mark and Trade Dress. In violation of Wrigley’s intellectual property
                              5   rights, these counterfeit products are often marketed and sold under the name “Life
                              6   Savers Medicated Gummies.”
                              7            73.    A comparison between examples of Wrigley’s LIFE SAVERS® candy
                              8   product and the “Life Savers Medicated Gummies” products is shown below:
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                                                 Wrigley’s LIFE SAVERS®            Infringing “Life Savers Medicated
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                           11                                                                 Gummies”

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                           24              74.    As with Wrigley’s products, certain businesses have manufactured,
                           25     packaged, and/or sold unauthorized and counterfeit edible cannabis products, often
                           26     marketed under the names “THC Snickers” or “Waxbar” (hereinafter referred to as
                           27     “THC Snickers”) that illegally use Mars’ SNICKERS® Mark and Trade Dress,
                           28     causing confusion amongst consumers and others as to the source of the product

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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 22 of 70 Page ID #:731



                              1   and/or whether Mars has authorized, endorsed, or is affiliated with the “THC
                              2   Snickers” product, which it is not.
                              3            75.   Below is a comparison of Mars’ SNICKERS® product to the nearly-
                              4   identically packaged infringing “THC Snickers” product:
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                                                  Mars’ SNICKERS®                      Infringing “THC Snickers”
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                           14              76.   Similarly, some unscrupulous businesses have begun manufacturing,
                           15     marketing, and/or distributing unauthorized edible cannabis products and packaging,
                           16     sometimes marketed under the name “3 Marijuanas,” which infringe on Mars’
                           17     3 MUSKETEERS® Mark and Trade Dress in an attempt to profit off of the
                           18     goodwill Mars has created in its 3 MUSKETEERS® mark, notwithstanding the
                           19     great risk to the public. As with the “THC Snickers” products, Mars has not
                           20     sponsored or endorsed, and is not affiliated with, any of the products discussed
                           21     herein which infringe on Mars’ 3 MUSKETEERS® Mark and Trade Dress.
                           22              77.   Examples of Mars’ 3 MUSKETEERS® chocolate bar and the
                           23     “3 Marijuanas” product are shown below for comparison:
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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 23 of 70 Page ID #:732



                              1                  Mars’ 3 MUSKETEERS®                 Infringing “3 Marijuanas”
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                                           78.    Some exploitative businesses have also begun manufacturing,
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                                  marketing, and/or distributing edible cannabis products and packaging which
                           12
                                  infringe on Mars’ MILKY WAY® Mark and Trade Dress, such products often
                           13
                                  being marketed as “Milky Weed” chocolate bars. Mars has not sponsored or
                           14
                                  endorsed, and is not affiliated with, any of the edible cannabis products described
                           15
                                  herein that infringe on the MILKY WAY® Mark and Trade Dress.
                           16
                                           79.    A comparison of Mars’ MILKY WAY® chocolate bar to an example
                           17
                                  of the “Milky Weed” THC-laced chocolate bar is shown below:
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                           19                     Mars’ MILKY WAY®                    Infringing “Milky Weed”
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                                  21079879.12                                23                FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 24 of 70 Page ID #:733



                              1            80.   Not only do the infringing “Medicated Skittles,” “Starburst Gummies,”
                              2   “Life Savers Medicated Gummies,” “THC Snickers,” “3 Marijuanas,” and “Milky
                              3   Weed” products and packaging violate Plaintiffs’ intellectual property rights, as
                              4   Plaintiffs have not authorized or permitted the use of the Subject Trademarks for
                              5   any such product, but they also pose a great danger to the public as anyone, children
                              6   and adults alike, could easily mistake the infringing cannabis-infused products for
                              7   Plaintiffs’ famous and beloved candies and chocolate bars and inadvertently ingest
                              8   the psychoactive compound THC contained therein.
                              9            81.   California’s Business and Professions Code section 26130(c)(1) states
                           10     that edible cannabis products shall not be “designed to be appealing to children or
                           11     easily confused with commercially sold candy or foods that do not contain
                           12     cannabis.” Furthermore, it is illegal to produce and sell edible cannabis products
                           13     which contain more than 10 milligrams of THC per serving—an amount that the
                           14     “Medicated Skittles” product exceeds per the description on its packaging and
                           15     which, on information and belief, the “Starburst Gummies” and “Life Savers
                           16     Medicated Gummies” likely exceed, as well. Cal. Bus. & Prof. Code § 26130(c)(2).
                           17     Some “THC Snickers,” “3 Marijuanas,” and “Milky Weed” products advertise that
                           18     they contain the stunningly high amount of 1,000 milligrams of THC per chocolate
                           19     bar. Thus, the public harm caused by the manufacture and distribution of these
                           20     counterfeit and infringing products is compounded by the illegal packaging designed
                           21     to appeal to children and imitate Plaintiffs’ famous candies and confections, as well
                           22     as by the illegally high dosages of THC being infused into the products.
                           23              82.   Just as Plaintiffs actively enforced their intellectual property rights
                           24     against manufacturers and distributors of infringing “candy-flavored” e-liquid
                           25     products for e-cigarettes when those products presented a risk of harm to children
                           26     and the public at large, Plaintiffs here seek to prevent the further unauthorized and
                           27     dangerous use of their Subject Trademarks on edible cannabis-infused products.
                           28

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                                  21079879.12                                  24                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 25 of 70 Page ID #:734



                              1   III.     DEFENDANTS’ WRONGFUL ACTS
                              2            83.   Each of the Defendants in this action is engaged in the marketing,
                              3   offering for sale, sale, and distribution of edible cannabis candy and chocolate
                              4   products that counterfeit and/or infringe on the Subject Trademarks, causing damage
                              5   to Plaintiffs and harm to the public due to the illegal and unauthorized imitation of
                              6   Plaintiffs’ famous candies and chocolate bars.
                              7            84.   Rather than develop their own brand names for their cannabis products,
                              8   Defendants instead chose to use the Subject Trademarks, without authorization or
                              9   license, in the marketing of their products, exhibiting no regard for Plaintiffs’
                           10     intellectual property rights, the consumer confusion likely to be caused by the
                           11     infringing products described herein, or the danger posed by distributing cannabis-
                           12     infused products in the form of and packaged as imitations of Plaintiffs’ famous
                           13     candies and chocolate bars.
                           14              85.   On information and belief, Defendants are similarly situated in that
                           15     they have all obtained elements of their counterfeit products from the same or
                           16     similar sources, based on the similarity of the counterfeit packaging used to market
                           17     and contain the edible cannabis products complained of herein.
                           18              A.    2020EDIBLEZ’ WRONGFUL ACTS
                           19              86.   Upon information and belief, 2020ediblez markets and sells cannabis
                           20     products online via the website located at https://www.2020ediblez.com.
                           21     2020ediblez offers their products to consumers located in the State of California,
                           22     including in this District.
                           23              87.   As of the date of this filing, 2020ediblez is marketing and offering for
                           24     sale, and/or has in the past, at least twelve cannabis products which violate
                           25     Plaintiffs’ rights in the Subject Trademarks. Those products include: (1) “Skittles
                           26     500mg” (sold in four flavors: “Green,” “Yellow,” “Blue,” and “Purple”); (2) “Sour
                           27     candy coated chews 500mg”; (3) “Candy coated fruit chews Medicated 10 pack”;
                           28     (4) “Cannaburst 500mg Starburst Gummies Edibles” (sold in three flavors: “Sours,”

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                                  21079879.12                                 25                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 26 of 70 Page ID #:735



                              1   “Berry,” and “Tropical”); (5) “Starbuds Gummies” (sold in two flavors: “Sour
                              2   Berry” and “Original”); (6) “Lifesavers Medicated Gummies 600mg”; (7) “Berry
                              3   ring medicated gummies 600mg”; (8) “Life Savers CBD Gummies 200mg”; (9)
                              4   “Berry Ring cbd gummies 200mg”; (10) “1000mg THC wax bar w peanuts and
                              5   caramel (10-Pack)”; (11) “3 Marijuanas chocolate bar 100mg (10-Pack)”; and (12)
                              6   “1000mg chocolate candy – Medicated edibles (SINGLE BAR).” These products,
                              7   collectively referred to as the “2020ediblez Infringing Products,” are pictured below
                              8   as they appear or have appeared on 2020ediblez’ website:
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                                  21079879.12                              26                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 27 of 70 Page ID #:736



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                                  21079879.12                 27               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 28 of 70 Page ID #:737



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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 29 of 70 Page ID #:738



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                                  21079879.12                 29               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 30 of 70 Page ID #:739



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                                  21079879.12                 30               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 31 of 70 Page ID #:740



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                                  21079879.12                 31               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 32 of 70 Page ID #:741



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                           16              88.   Upon information and belief, 2020ediblez adopted and uses the Subject
                           17     Trademarks in marketing, offering for sale, and distributing the 2020ediblez
                           18     Infringing Products with full knowledge of, and in willful disregard of, Plaintiffs’
                           19     intellectual property rights, and with the intent to take advantage of the goodwill that
                           20     Plaintiffs have developed in the Subject Trademarks.
                           21              B.    THE IE420 DEFENDANTS’ WRONGFUL ACTS
                           22              89.   Upon information and belief, the IE420 Defendants market and sell
                           23     cannabis products online via the website located at https://www.ie420supply.com.
                           24     The IE420 Defendants offer their products to consumers located in the State of
                           25     California, including in this District.
                           26              90.   As of the date of this filing, the IE420 Defendants are marketing and
                           27     offering for sale, and/or have in the past, at least three cannabis products which
                           28     violate Plaintiffs’ rights in the Subject Trademarks. Those products include: (1)

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                                  21079879.12                                32                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 33 of 70 Page ID #:742



                              1   “Medicated Skittles 400mg THC Edible” (sold in four flavors: “Original,” “Wild
                              2   Berry,” “Zombie,” and “Seattle Mix”); (2) “Starburst Gummies 500mg THC” (sold
                              3   in two flavors: “Berry” and “Sours”); and (3) “Blue Skittlez.” These products,
                              4   collectively referred to as the “IE420 Infringing Products,” are pictured below as
                              5   they appear or appeared on the IE420 Defendants’ website:
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                                  21079879.12                              33                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 34 of 70 Page ID #:743



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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 35 of 70 Page ID #:744



                              1            91.   Upon information and belief, the IE420 Defendants adopted and use the
                              2   Subject Trademarks in marketing, offering for sale, and distributing the IE420
                              3   Infringing Products with full knowledge of, and in willful disregard of, Plaintiffs’
                              4   intellectual property rights, and with the intent to take advantage of the goodwill that
                              5   Plaintiffs have developed in the Subject Trademarks.
                              6            92.   Additionally, Mohr appears in a video titled “First Medicated Skittles
                              7   Review ever!” which has been published on YouTube at the following URL
                              8   address: https://www.youtube.com/watch?v=njltYxRagN8. Upon information and
                              9   belief, the video was posted by the IE420 Defendants. In the video, Mohr reviews
                           10     the “Medicated Skittles” product and advertises special deals and promotions for the
                           11     “Medicated Skittles” product offered by the IE420 Defendants on their website.
                           12              C.    OC420’S WRONGFUL ACTS
                           13              93.   Upon information and belief, OC420 markets and sells cannabis
                           14     products online via the website located at https://www.oc420collection.com.
                           15     OC420 offers their products to consumers located in the State of California,
                           16     including in this District.
                           17              94.   As of the date of this filing, OC420 is marketing and offering for sale,
                           18     and/or has in the past, at least three cannabis products which violate Plaintiffs’ rights
                           19     in the Subject Trademarks. Those products include: (1) “Medicated Skittles” (sold
                           20     in four flavors: “Original,” “Sour,” “Wild Berry,” and “Seattle Mix”); (2)
                           21     “Medicated Cannaburst Gummies” (sold in three flavors: “Original Sours,” “Berry
                           22     Sours,” and “Tropical”); and (3) a “Munchies Edible Deal” which includes a
                           23     package of the “Cannaburst Gummies.” These products, collectively referred to as
                           24     the “OC420 Infringing Products,” are pictured below as they appear or appeared on
                           25     OC420’s website:
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                                  21079879.12                                 35                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 36 of 70 Page ID #:745



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                                  21079879.12                 36               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 37 of 70 Page ID #:746



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                           16              95.   Upon information and belief, OC420 adopted and uses the Subject
                           17     Trademarks in marketing, offering for sale, and distributing the OC420 Infringing
                           18     Products with full knowledge of, and in willful disregard of, Plaintiffs’ intellectual
                           19     property rights, and with the intent to take advantage of the goodwill that Plaintiffs
                           20     have developed in the Subject Trademarks.
                           21              D.    GASBUDS’ WRONGFUL ACTS
                           22              96.   Upon information and belief, GasBuds markets and sells cannabis
                           23     products online via the website located at https://www.gasbuds.com. GasBuds
                           24     offers their products to consumers located in the State of California, including in this
                           25     District.
                           26              97.   As of the date of this filing, GasBuds is marketing and/or offering for
                           27     sale, and/or has in the past, at least twenty-three cannabis products which violate
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                                  21079879.12                                 37                FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 38 of 70 Page ID #:747



                              1   Plaintiffs’ rights in the Subject Trademarks. Those products include:
                              2   (1) “Medicated Sour Skittles 600mg THC”; (2) “Medicated Sour Skittles – 400mg
                              3   THC”; (3) “Medicated Yellow Sour Skittles – 400mg THC”; (4) “High Tolerance
                              4   Concentrates Skittlez – 1g Cartridge”; (5) “High Tolerance – Shorty’s 5 personal
                              5   infused pre-rolls (Blue Skittles)”; (6) “BPB – Zerbert (ZkittlesXSunset Sherbert) –
                              6   3.5g”; (7) “CANABOTANICA Shake – Cherry Pie X Sherbert X Zkitles 28g”;
                              7   (8) “High Tolerance Live Resin Concentrates – Watermelon Zkittlez – 1g
                              8   Cartridge”; (9) “High Tolerance Concentrates ZKITTLES – 1g Cartridge”;
                              9   (10) “Interface Live Resin Cart – Watermelon Zkittlez 1G”; (11) “Stndrd Company
                           10     Zkittles – Disposable 500mg”; (12) “WARRIORS Zkittles – Cartridge 1g”;
                           11     (13) “STARBUDS Gummies – 500mg THC”; (14) “STARBUDS Medicated
                           12     Gummies Original – 500mg THC”; (15) “STARBUDS Medicated Gummies Sour –
                           13     500mg THC”; (16) “Medicated Cannaburst Gummies – 500mg THC”; (17) “Mini
                           14     Starbuds Medicated Gummies – 408mg THC”; (18) “Medicated Life Savers
                           15     Gummies Wild Berries 600mg”; (19) “Love Saverz Gummies – Collisions 600mg”;
                           16     (20) “THC Sni*kers Chocolate Bar – 1000mg”; (21) “THC Chocolate Bar (like a
                           17     sni**ers) – 1000mg”; (22) “3 Marijuanas Chocolate Bar – 1000mg”; and (23) “THC
                           18     Chocolate Milky Weed – 1000mg thc.” These products, collectively referred to as
                           19     the “GasBuds Infringing Products,” are pictured below as they appear on GasBuds’
                           20     website:
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                                  21079879.12                              38                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 39 of 70 Page ID #:748



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A Limited Liability Partnership
                                  21079879.12                 39               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 40 of 70 Page ID #:749



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A Limited Liability Partnership
                                  21079879.12                 40               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 41 of 70 Page ID #:750



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A Limited Liability Partnership
                                  21079879.12                 41               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 42 of 70 Page ID #:751



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A Limited Liability Partnership
                                  21079879.12                 42               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 43 of 70 Page ID #:752



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A Limited Liability Partnership
                                  21079879.12                 43               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 44 of 70 Page ID #:753



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A Limited Liability Partnership
                                  21079879.12                 44               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 45 of 70 Page ID #:754



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      Loeb & Loeb
A Limited Liability Partnership
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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 46 of 70 Page ID #:755



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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                 46               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 47 of 70 Page ID #:756



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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                 47               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 48 of 70 Page ID #:757



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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                 48               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 49 of 70 Page ID #:758



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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                 49               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 50 of 70 Page ID #:759



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                           14              98.   Upon information and belief, GasBuds adopted and uses the Subject
                           15     Trademarks in marketing, offering for sale, and distributing the GasBuds Infringing
                           16     Products with full knowledge of, and in willful disregard of, Plaintiffs’ intellectual
                           17     property rights, and with the intent to take advantage of the goodwill that Plaintiffs
                           18     have developed in the Subject Trademarks.
                           19              E.    CANNABIS 420’S WRONGFUL ACTS
                           20              99.   Upon information and belief, Cannabis 420 markets and sells cannabis
                           21     products online via the website located at https://www.cannabis420supply.com.
                           22     Cannabis 420 offers their products to consumers located in the State of California,
                           23     including in this District.
                           24              100. As of the date of this filing, Cannabis 420 is marketing and offering for
                           25     sale, and/or has in the past, at least two cannabis products which violate Plaintiffs’
                           26     rights in the Subject Trademarks: (1) “Medicated Skittles 400mg THC Edible” (sold
                           27     in five flavors: “Original,” “Sour,” “Wild Berry,” “Zombie,” and “Seattle Mix”);
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                                  21079879.12                                50                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 51 of 70 Page ID #:760



                              1   and (2) “Cannaburst Gummies 500mg THC” (sold in two flavors: “Sours” and
                              2   “Berry Sours”). These products, collectively referred to as the “Cannabis 420
                              3   Infringing Products,” are pictured below as they appear and/or appeared on
                              4   Cannabis 420’s website:
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      Loeb & Loeb
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                                  21079879.12                             51                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 52 of 70 Page ID #:761



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                                           101. Upon information and belief, Cannabis 420 adopted and uses, and/or
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                                  has adopted and used in the past, the Subject Trademarks in marketing, offering for
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                                  sale, and distributing the Cannabis 420 Infringing Products with full knowledge of,
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                                  and in willful disregard of, Plaintiffs’ intellectual property rights, and with the intent
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                                  to take advantage of the goodwill that Plaintiffs have developed in the Subject
                           22
                                  Trademarks.
                           23
                                           F.    GREEN RUSH’S WRONGFUL ACTS
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                                           102. Upon information and belief, Green Rush markets and sells cannabis
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                                  products online via the website located at https://greenrushextracts.org. Green Rush
                           26
                                  offers their products to consumers located in the State of California, including in this
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                                  District.
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                                  21079879.12                                 52                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 53 of 70 Page ID #:762



                              1            103. As of the date of this filing, Green Rush is marketing and offering for
                              2   sale, and/or has in the past, at least fourteen cannabis products which violate
                              3   Plaintiffs’ rights in the Subject Trademarks: (1) “Skittles Original”; (2) “Skittles
                              4   Medicated Original”; (3) “Skittles Sour”; (4) “Skittles Medicated Yellow Sour”;
                              5   (5) “Skittles Wild Berry”; (6) “Skittles Tropical”; (7) “Skittles Zombies”; (8) “Dark
                              6   Hawk Sour Skittles”; (9) “Baby Jeeter Infused – Blue Zkittlez”; (10) “Jeeter 1G
                              7   Infused Preroll Blue Zkittles”; (11) “Jeeter Juice Vape – Blue Zkittlez”;
                              8   (12) “Cannaburst Gummie Sourberries”; (13) “Life Saver Gummies Wild Berry”;
                              9   and (14) “Lifesavers Collison Gummies.” These products (referred to as the “Green
                           10     Rush Infringing Product,” and, together with the 2020ediblez Infringing Products,
                           11     IE420 Infringing Products, OC420 Infringing Products, GasBuds Infringing
                           12     Products, and Cannabis 420 Infringing Products, the “Infringing Products”) are
                           13     pictured below as they appear on the Green Rush website:
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A Limited Liability Partnership
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    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 54 of 70 Page ID #:763



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                                  21079879.12                 54               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 55 of 70 Page ID #:764



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                                  21079879.12                 55               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 56 of 70 Page ID #:765



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A Limited Liability Partnership
                                  21079879.12                 56               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 57 of 70 Page ID #:766



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A Limited Liability Partnership
                                  21079879.12                 57               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 58 of 70 Page ID #:767



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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                 58               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 59 of 70 Page ID #:768



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A Limited Liability Partnership
                                  21079879.12                 59               FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 60 of 70 Page ID #:769



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                           16              104. Upon information and belief, Green Rush adopted and uses the Subject
                           17     Trademarks in marketing, offering for sale, and distributing the Green Rush
                           18     Infringing Product with full knowledge of, and in willful disregard of, Plaintiffs’
                           19     intellectual property rights, and with the intent to take advantage of the goodwill that
                           20     Plaintiffs have developed in the Subject Trademarks.
                           21                                  FIRST CLAIM FOR RELIEF
                           22                         (Federal Counterfeiting Against All Defendants)
                           23              105. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                           24     set forth herein.
                           25              106. Plaintiffs own certain exclusive rights in and to the marks and logos
                           26     reflected in the SKITTLES®, STARBURST®, LIFE SAVERS®, SNICKERS®, 3
                           27     MUSKETEERS®, and MILKY WAY® registrations and the goods covered by
                           28     those registrations are candy and confections.

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 60                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 61 of 70 Page ID #:770



                              1            107. Defendants use in commerce, market, and offer for sale edible cannabis
                              2   products featuring the “Skittles” mark in plain text and white block lettering,
                              3   distinctive rainbow designs, images of candy-coated lentils with an “S” imprinted
                              4   thereon, and/or a design featuring such candy lentils cascading along an upside-
                              5   down rainbow, marks and trade dress that are identical to, or substantially
                              6   indistinguishable from, the marks and logos in the SKITTLES® registrations.
                              7   Defendants’ use of those marks in association with candies constitutes trademark
                              8   counterfeiting in violation of 15 U.S.C. § 1114.
                              9            108. Additionally, all Defendants use in commerce, market, and offer for
                           10     sale edible cannabis products featuring the “Starburst” mark and/or images of square
                           11     candies with a stylized “S” imprinted thereon, marks and trade dress that are
                           12     identical to, or substantially indistinguishable from, the marks and logos in the
                           13     STARBURST® registrations. Defendants’ use of those marks in association with
                           14     candies constitutes trademark counterfeiting in violation of 15 U.S.C. § 1114.
                           15              109. Furthermore, 2020ediblez, GasBuds, and Green Rush use in commerce,
                           16     market, and offer for sale edible cannabis products featuring the “Life Savers” mark
                           17     in plain text and stylized lettering, as well as images of the LIFE SAVERS®
                           18     distinctive circular candies, marks and trade dress that are identical to, or
                           19     substantially indistinguishable from, the marks and logos in the LIFE SAVERS®
                           20     registrations. 2020ediblez’ and GasBuds’ use of those marks in association with
                           21     candies constitutes trademark counterfeiting in violation of 15 U.S.C. § 1114.
                           22              110. 2020ediblez and GasBuds have also used in commerce, marketed, and
                           23     offered for sale edible cannabis products featuring the “Snickers” mark in plain text
                           24     and in blue block lettering in a parallelogram outlined in red, marks and trade dress
                           25     that are identical to, or substantially indistinguishable from, the marks and logos in
                           26     the SNICKERS® registrations. 2020ediblez’ and GasBuds’ use of those marks in
                           27     association with candies constitutes trademark counterfeiting in violation of 15
                           28     U.S.C. § 1114.

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                61                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 62 of 70 Page ID #:771



                              1            111. 2020ediblez and GasBuds have also used in commerce, marketed, and
                              2   offered for sale edible cannabis products featuring the number “3” inside a blue
                              3   shield design, a use which is identical to, or substantially indistinguishable from, the
                              4   marks and logos in the 3 MUSKETEERS® registrations. 2020ediblez’ and
                              5   GasBuds’ use of those marks in association with candies constitutes trademark
                              6   counterfeiting in violation of 15 U.S.C. § 1114.
                              7            112. Defendants’ use of the counterfeit marks in advertising, offering for
                              8   sale, selling, and distributing their edible cannabis candy and chocolate products are
                              9   likely to cause confusion, mistake, or deception as to source, affiliation, or
                           10     sponsorship of the goods.
                           11              113. Upon information and belief, Defendants have used the marks and
                           12     logos reflected in the SKITTLES®, STARBURST®, LIFE SAVERS®,
                           13     SNICKERS®, and/or 3 MUSKETEERS® registrations for their counterfeit products
                           14     with full knowledge of, and in willful disregard of Plaintiffs’ rights in their
                           15     trademarks, and with the intent to obtain a commercial advantage that Defendants
                           16     otherwise would not have.
                           17              114. The imitation, copying, and unauthorized use of the marks and logos
                           18     reflected in the SKITTLES®, STARBURST®, LIFE SAVERS®, SNICKERS®,
                           19     and/or 3 MUSKETEERS® registrations causes irreparable injury to Plaintiffs,
                           20     including injury to their business reputations and the goodwill associated with the
                           21     Subject Trademarks.
                           22              115. Plaintiffs have no adequate remedy at law for these injuries. Moreover,
                           23     unless Defendants are restrained by this Court from continuing this imitation,
                           24     copying, and unauthorized use of the marks and logos reflected in the SKITTLES®,
                           25     STARBURST®, LIFE SAVERS®, SNICKERS®, and/or 3 MUSKETEERS®
                           26     registrations, these injuries will continue to occur. Plaintiffs are entitled to a
                           27     preliminary and permanent injunction restraining Defendants, their agents,
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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 62                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 63 of 70 Page ID #:772



                              1   employees, and all persons acting in concert with them, from engaging in such
                              2   further acts in violation of 15 U.S.C. § 1116.
                              3            116. Plaintiffs are further entitled to recover from Defendants the damages
                              4   they have sustained and will sustain, and any gains, profits, and advantages unfairly
                              5   obtained by Defendants as a result of Defendants’ imitation, copying, and
                              6   unauthorized use as alleged above. Plaintiffs are, at present, unable to ascertain the
                              7   full extent of monetary damages suffered by reason of Defendants’ acts.
                              8            117. By reason of Defendants’ acts, and pursuant to 15 U.S.C. § 1117,
                              9   Plaintiffs are entitled to Defendants’ profits, Plaintiffs’ costs of suit, Plaintiffs’
                           10     reasonable attorneys’ fees, and Plaintiffs’ actual damages, and the trebling of those
                           11     damages or of Defendants’ profits, or to statutory damages at its election.
                           12                                SECOND CLAIM FOR RELIEF
                           13                    (Federal Trademark Infringement Against All Defendants)
                           14              118. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                           15     set forth herein.
                           16              119. Defendants’ acts are likely to cause confusion, mistake, or deception as
                           17     to source, affiliation, or sponsorship, in violation of 15 U.S.C. §§ 1114, 1125(a).
                           18              120. Upon information and belief, Defendants adopted and use the Subject
                           19     Trademarks with full knowledge of, and in willful disregard of Plaintiffs’ rights in
                           20     their trademarks, and with the intent to obtain a commercial advantage that
                           21     Defendants otherwise would not have, making this an exceptional case pursuant to
                           22     15 U.S.C. § 1117.
                           23              121. Plaintiffs have been, and will continue to be, damaged by Defendants’
                           24     infringement in an amount to be determined at trial.
                           25              122. Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           26     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           27     are without an adequate remedy at law.
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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                  63                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 64 of 70 Page ID #:773



                              1                               THIRD CLAIM FOR RELIEF
                              2                   (Federal Trademark Dilution Against All Defendants)
                              3            123. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                              4   set forth herein.
                              5            124. The Subject Trademarks are inherently distinctive and famous under 15
                              6   U.S.C. § 1125(c).
                              7            125. Defendants’ unlawful uses of the Subject Trademarks in commerce
                              8   began long after the Subject Trademarks became famous.
                              9            126. Defendants’ conduct causes, and will continue to cause, dilution of the
                           10     distinctive quality of the famous Subject Trademarks.
                           11              127. Upon information and belief, Defendants adopted and use the Subject
                           12     Trademarks with full knowledge of Plaintiffs’ intellectual property rights therein,
                           13     and with the willful intention to trade on Plaintiffs’ reputation and/or cause dilution
                           14     of the famous Subject Trademarks, making this an exceptional case pursuant to 15
                           15     U.S.C. § 1117.
                           16              128. Plaintiffs have been, and will continue to be, damaged by Defendants’
                           17     dilutive conduct in an amount to be determined at trial.
                           18              129. Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           19     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           20     are without an adequate remedy at law.
                           21                                FOURTH CLAIM FOR RELIEF
                           22                     (Federal Unfair Competition Against All Defendants)
                           23              130. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                           24     set forth herein.
                           25              131. Defendants’ acts are likely to cause confusion or mistake, or to deceive
                           26     as to Defendants’ affiliation, connection, or association with Plaintiffs, or as to the
                           27     origin, sponsorship, or approval of Defendants’ goods. Defendants’ acts constitute
                           28     unfair competition in violation of 15 U.S.C. § 1125(a)(1)(A).

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 64                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 65 of 70 Page ID #:774



                              1            132. Upon information and belief, Defendants’ conduct is willful, deliberate,
                              2   intentional, and in bad faith, making this an exceptional case.
                              3            133. Plaintiffs have been, and will continue to be, damaged by Defendants’
                              4   infringement in an amount to be determined at trial.
                              5            134. Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                              6   will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                              7   are without an adequate remedy at law.
                              8                                FIFTH CLAIM FOR RELIEF
                              9      (Unfair Competition in Violation of Cal. Bus. & Prof. Code §§ 17200, et seq.
                           10                                     Against All Defendants)
                           11              135. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                           12     set forth herein.
                           13              136. Defendants have wrongfully appropriated the Subject Trademarks in
                           14     connection with their marketing, offering for sale, and/or distribution of the
                           15     Infringing Products. These acts have caused, or are likely to cause, confusion,
                           16     mistake, or deception amongst consumers and others as to the source of the
                           17     Infringing Products and as to whether Plaintiffs have authorized, endorsed, or are
                           18     affiliated with the Infringing Products.
                           19              137. Defendants’ acts constitute unfair competition in violation of California
                           20     Business and Professions Code §§ 17200, et seq. in that they are unlawful, unfair,
                           21     and/or fraudulent acts or business practices, and because Defendants have engaged
                           22     in unfair, deceptive, untrue, and misleading advertising for the Infringing Products.
                           23              138. Upon information and belief, Defendants’ conduct has been deliberate
                           24     and willful, and Defendants’ misappropriation of the Subject Trademarks has been
                           25     done with Defendants’ full knowledge of, and total disregard for, Plaintiffs’
                           26     intellectual property rights therein and with the bad faith intent to trade on the
                           27     goodwill Plaintiffs have developed in the Subject Trademarks.
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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 65                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 66 of 70 Page ID #:775



                              1            139. As a result of Defendants’ unfair competition, Plaintiffs have been
                              2   greatly and irreparably harmed, including by the dilution of goodwill, confusion of
                              3   existing and potential customers, and injury to reputation, and Plaintiffs will
                              4   continue to be damaged by Defendants’ conduct unless it is enjoined by the Court
                              5   such that Plaintiffs are without an adequate remedy at law.
                              6                                SIXTH CLAIM FOR RELIEF
                              7            (Dilution in Violation of Cal. Bus. & Prof. Code § 14247 Against All
                              8                                          Defendants)
                              9            140. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                           10     set forth herein.
                           11              141. The Subject Trademarks are inherently distinctive and famous, being
                           12     widely recognized by the general consuming public of the United States and
                           13     California as an indicator of the source of Plaintiffs’ candies and chocolate bars.
                           14              142. Defendants’ unlawful uses of the Subject Trademarks in commerce
                           15     began long after the Subject Trademarks became famous.
                           16              143. Defendants’ conduct is likely to cause dilution of the distinctive quality
                           17     of the famous Subject Trademarks in violation of California Business and
                           18     Professions Code § 14247.
                           19              144. Upon information and belief, Defendants’ conduct has been deliberate
                           20     and willful, and Defendants’ uses of the Subject Trademarks has been done with
                           21     Defendants’ full knowledge of, and total disregard for, Plaintiffs’ intellectual
                           22     property rights therein and with the bad faith intent to trade on the goodwill
                           23     Plaintiffs have developed in the Subject Trademarks.
                           24              145. Defendants’ acts are greatly and irreparably damaging to Plaintiffs and
                           25     will continue to damage Plaintiffs unless enjoined by the Court such that Plaintiffs
                           26     are without an adequate remedy at law.
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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 66                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 67 of 70 Page ID #:776



                              1                              SEVENTH CLAIM FOR RELIEF
                              2                  (Common Law Unfair Competition Against All Defendants)
                              3            146. Plaintiffs reallege the allegations of the preceding paragraphs as if fully
                              4   set forth herein.
                              5            147. Defendants have wrongfully appropriated the Subject Trademarks in
                              6   connection with their marketing, offering for sale, and/or distribution of the
                              7   Infringing Products. These acts have caused, or are likely to cause, confusion,
                              8   mistake, or deception amongst consumers and others as to the source of the
                              9   Infringing Products and as to whether Plaintiffs have authorized, endorsed, or are
                           10     affiliated with the Infringing Products.
                           11              148. Defendants’ acts constitute unfair competition in violation of California
                           12     common law in that they are unlawful, unfair, and/or fraudulent acts or business
                           13     practices, and because Defendants have engaged in unfair, deceptive, untrue, and
                           14     misleading advertising for the Infringing Products.
                           15              149. Upon information and belief, Defendants’ conduct has been deliberate
                           16     and willful, and Defendants’ misappropriation of the Subject Trademarks has been
                           17     done with Defendants’ full knowledge of, and total disregard for, Plaintiffs’
                           18     intellectual property rights therein and with the bad faith intent to trade on the
                           19     goodwill Plaintiffs have developed in the Subject Trademarks.
                           20              150. As a result of Defendants’ unfair competition, Plaintiffs have been
                           21     greatly and irreparably harmed, including by the dilution of goodwill, confusion of
                           22     existing and potential customers, and injury to reputation, and Plaintiffs will
                           23     continue to be damaged by Defendants’ conduct unless it is enjoined by the Court
                           24     such that Plaintiffs are without an adequate remedy at law.
                           25                                     PRAYER FOR RELIEF
                           26              WHEREFORE, Plaintiffs respectfully request that this Court:
                           27              1.      Enter judgment that Defendants have violated the Lanham Act, 15
                           28     U.S.C. §§ 1114, 1125; California Business and Professions Code §§ 17200, et seq.

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                 67                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 68 of 70 Page ID #:777



                              1   and § 14247; and California common law, and that such violations were willful and
                              2   intentional, making this an exceptional case;
                              3            2.    Award Plaintiffs statutory damages in the amount of $2,000,000 per
                              4   counterfeit mark per type of goods sold, offered for sale, or distributed, in a total
                              5   amount to be determined at trial, for Defendants’ willful counterfeiting of the
                              6   Subject Trademarks and pursuant to 15 U.S.C. §§ 1117(c)(2);
                              7            3.    Issue a preliminary and permanent injunction enjoining and restraining
                              8   Defendants, their agents, servants, employees, successors, assigns, and all other
                              9   persons acting in concert or in participation with Defendants, jointly and severally,
                           10     from directly or indirectly engaging in (a) any further counterfeiting of Plaintiffs’
                           11     SKITTLES®, STARBURST®, LIFE SAVERS®, SNICKERS®, and 3
                           12     MUSKETEERS® registrations, (b) any further trademark infringement, trademark
                           13     dilution, unfair competition, or deceptive business practices, including making,
                           14     offering for sale, or selling any products that feature marks confusingly similar to
                           15     the Subject Trademarks, and (c) doing any other act calculated or likely to induce or
                           16     cause confusion or the mistaken belief that Defendants or their products are in any
                           17     way affiliated, connected, or otherwise associated with Plaintiffs or their products;
                           18              4.    Require Defendants to immediately recall from all distribution channels
                           19     all products, packaging, labels, wrappers, advertising, and promotional materials
                           20     bearing or infringing on the Subject Trademarks;
                           21              5.    Require Defendants to immediately deliver to Plaintiffs for destruction
                           22     all products, packaging, labels, wrappers, digital or electronic images or files,
                           23     advertising, and promotional materials bearing or infringing on the Subject
                           24     Trademarks, pursuant to 15 U.S.C. § 1118;
                           25              6.    Order Defendants to account to Plaintiffs for all profits wrongfully
                           26     derived by their unlawful conduct and to pay to Plaintiffs:
                           27                    a.    all monetary actual and/or statutory damages sustained and to be
                           28                          sustained by Plaintiffs as a consequence of Defendants’ unlawful

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                68                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 69 of 70 Page ID #:778



                              1                        conduct, including lost profits and corrective advertising
                              2                        damages, in an amount to be determined at trial;
                              3                  b.    all profits, gains, and advantages obtained by Defendants from
                              4                        their unlawful conduct;
                              5                  c.    exemplary damages, including treble damages resulting from
                              6                        Defendants’ unlawful conduct; and
                              7                  d.    pre-judgment interest on all damages.
                              8            7.    Order Defendants to pay Plaintiffs’ costs and disbursements in this
                              9   action, including their reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117;
                           10              8.    That the Court order those in privity with, working with, or providing
                           11     services of any kind to Defendants and those with notice or receipt of the injunction,
                           12     and any Internet search engines, domain name registrars, domain name registries,
                           13     Internet Service Providers, and web hosts, shall: (a) be and are restrained and
                           14     enjoined from facilitating access to any and all websites and accounts through which
                           15     Defendants engage in the counterfeiting and/or infringing use of the Subject
                           16     Trademarks, and any account(s) associated with the same; (b) be and are restrained
                           17     and enjoined from altering, interlining, removing, destroying, permitting the
                           18     destruction of, or in any other fashion changing any records, including electronic
                           19     records, in the actual or constructive care, custody, or control of Defendants that are
                           20     relevant to the subject matter of this lawsuit or likely to lead to the discovery of
                           21     relevant records or evidence, wherever said records are physically located; (c) be
                           22     ordered to preserve copies of all documents, files, electronically-stored information
                           23     and things relating to the websites controlled by Defendants that offer products or
                           24     packaging bearing the Subject Trademarks and take steps to retrieve files that may
                           25     have been deleted before entry of this injunction; (d) be ordered to provide any and
                           26     all identification, contact, and registration information associated with those
                           27     websites; and (e) be ordered to produce any and all documents and electronically-
                           28     stored information regarding access, download, and visitors to the websites;

      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                69                  FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
                  Case 5:21-cv-00777-JWH-SHK Document 76 Filed 07/15/22 Page 70 of 70 Page ID #:779



                              1            9.    Direct that each of the Defendants file with this Court and serve on
                              2   counsel for Plaintiffs within thirty days after entry of any injunction issued by the
                              3   Court, a sworn written statement pursuant to 15 U.S.C. § 1116 setting forth in detail
                              4   the manner and form in which they have complied with the injunction; and
                              5            10.   Order any such other or further relief as the Court may deem just and
                              6   proper.
                              7                               DEMAND FOR JURY TRIAL
                              8            Pursuant to Fed. R. Civ. P. 38(b), plaintiffs Wm. Wrigley Jr. Company and
                              9   Mars, Incorporated respectfully demand a trial by jury of all issues so triable by a
                           10     jury.
                           11
                           12     Dated: July 15, 2022                     LOEB & LOEB LLP
                           13
                                                                           By: /s/ Kyle R. Petersen
                           14                                                  Douglas N. Masters
                                                                               Kyle R. Petersen
                           15                                                  Attorneys for Plaintiffs
                                                                               Wm. Wrigley Jr. Company and Mars,
                           16                                                  Incorporated
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      Loeb & Loeb
A Limited Liability Partnership
                                  21079879.12                                70                 FIRST AMENDED COMPLAINT
    Including Professional        208719-10057
         Corporations
